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MOR-‘i

cASE NAME.- DRILLING STUCTU RES iNTERNAT|ONAL, tNC.
cAsE NuMBER: 18-33395

PROFOSED PLAN DATE: 9i1i2018

MONTHLY OPERA TING REPORT SUMMARY FOR MONTH

 

MONTH
R .OO
ME BEFORE INT' DEPREC./TAX -6 -'l l155.82
»19 155.82
7 881.17
0.00

INCOME
AYMENTS TO INSIDERS
A YMENTS T 0 PROFESSIONALS

R»9
R-9

16 .52

0.00
0.00
0.00
0.00
0.00

UNITED STATES BANKRUPTCY COUR'I`

0.00
0.00
0.00
D.
0.

G.OO
0.00
0.00
0.00
0.00

6125!201 8

FETITION DA TE:
DISTRtCT OF TEXAS: Southern
DIWSION: Houston

 

0.00
0.00
0.00
0.00
0.00

0. 0.00

 

***The original of this document must be filed with the United States Bankruptcy Cour“c and a copy must be sent to the United States 'I`rustee***

 

REQUIRED INSURANCE MAINTAI'NED

 

 

 

 

As oF siGNA TURE DA TE EXP.
_ 12an _
cASuAt,TY YES( 3 No ( 1 _~_-____
L.'AB.'LITY YES(X) No ( } g - L- §§
vEHtcLE YES (x) No( } § - § - M
WoRKER‘s YES(X) NO( ) g - §_1_ - 2019
0THER YES( j No( ) ___-___-___
AITORNEYNAME: RICHARD L FUQUA
F;RMNAME.- FUQUA & ASSOCtATES, P.C.
MDRM: 5005 R|VERWAY, SUETE 250

HOUSTON, TX 77056

cii')'. STA?"E. th.~
TELEPHOND'FA,\'.- 74 3-960-0277 AN D 713-960~1064

MOR- 1

 

 

 

 

 

 

Are eti accounts receivable being caiiected Withr‘n terms?
Are att post-petition iiabitities, including taxes, being paid Within terms?
Have any pre-petition tiabiir'tr'es been paid?

if so, desisde

Are ali funds received being deposited into DtP bank accounts?
Were any assets disposed of outside the nonnat course oibusiness?

if sol describe ,

Are atf U.S. Trustee Quarten'y Fee Paymen!s cument?
What is the status of your Fian of Reorganization?

cchLE one
_Le_§ No
_Yg No
Yes Lo_

 

E No
Yes §§

 

ENO

 

f certtf)§» under penal!y of perj my that the following complete
Monthly Operating Report (MOR), consisiing ofMOR-l through

 
    
 

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c /z? ¢,dAw/Ug;/ ( jjng

 

(FérNTNAME oF stGNA rome

 

CASE NAME: DR|LLENG STUCTURES |NTERNAT!ONAE_, iNC.
CASE NUMBER: 18-33395

 

TS

ASSE'I`S

Net
. Lower of Cost or Market

AL ASSETS
OPERTY PLAN’I` & UIP. COST
Accumulated
BOOK VALUE OF PP & E
ASSE'|`S
}. Tax
2. lnvestments in Subsidiaries
3. Elect`ric
4.
AL ASSETS

MOR-Z

F)LrNG DATE*
612 5/20 1 8

31 416.3'?
189 .93
005 483.07
11 .86

3 081.70

240 .00

l 1 804 806.93
17 884.71

4 755.39

I 789 129.32

2 16 079.74

] 410 15.99

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COMPARATIVE BALANCE SHEETS

MONTH

6/30/18

13 722.69
189 .93
005 483.07

11
3 081.70
240 .00
11 787 113.25
6 017 .71
4 755.39
1 789 129.32

16 079.74

221

Per and Stalement

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cASE NAME: DR|LL|NG STUCTURES lNTERNAT|ONAL, lNC.
cAsE NuMBER: 18»33395

COMPARATNE BALANCE SHEETS

ILITIES & OWNER'S nunc umw MoNTH ulon MoNTl-l
QUITY 6/25/201 8 6/30/2018

 

-PETIT:oN 3 5.59
LlABlLtTLEs
Notes - Secured 3 163.49
Debe 9 894.11 9 070
Federal Income Tax ~11 787.44 -l ] 787.44
FI 1 621.83 1,62! .83
Unsecured Debt 63 537 63 606.62
Other 11 747.85 6 1 l 747.85
AL PRE-PEHTION LlAmuTlEs 15 814 94.05 15 14 94.05
OTA.l, LlABlLlTIES 15 14 .05 15 1 39.64
WNER'S
vREFERRBD smcra 57 000.00 57 000.00
cOMz~aoN sTocK
ADI;)moNAL PAm-IN cAI'ITAL -354 1 .76 -354 21 .76
RETAIN£D EARNTNG$: am 3.70 871 54.43

RETA:NL-D EARNINGS: vast mm
owNER's 595 621.94 574 032.67

&
1641 015.99 16 72.3]

and Statement

MOR-3

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cAsE time DRlLLlNG STucTURES iNTERNAT:oNAL, lNC.
CASE NUMBER: 18~33395
SCHEDULE OF POST-PETITION LIABILITIES

MONTH ONTH
J un-l 8

    

ACCOUNTS PAYABLE
AX PA'\’ABLE
Federal Taxes
State 'I`axes
Ad Va\orem Taxes
Other Taxes
AL TAXES PAYABLE 0.00
DEBT PosT-PET!TION -18 053.84
CCRUED INTEREST FAYABLE
CCRUED PROFESSIONAL F`EES*
ACCRU`ED LIABIL!TIES
l. PRIORITY D}':.`BT
2. UNSECURED DEBT
3.

AL POST-PETITION LfABILITIES
requires Court

MOR-4

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CASE NAME: DRILLING STUCTURES lNTERNATiONAL, lNC.

cAsE NuMBER: 18~33395

TOTAL

-109 680.52
45 607.94
15 415.95
5 602.22

5

 

MONTH

0~30 DAYS

31-60 DAYS

61-‘)(] DAYS

91+ DAYS
AL

MOR-S

’I'RADE
ACCOUNTS

ll 33.57
~ll 641.44

0.00

-1 44.44

1 5

1

AG!NG OF POST~PETITlON LlABIL»IT]ES
MON'¥`H lim-18

 

FEDERAL STATE AD VALOREM, MON'I`H
TAXES TAXES OTHE.R TAXES OVBRHEAD

269.50 856.
71 033

-15 415
~57 445
028.40

AGING OF ACCOUNTS RECEIVABLE

 

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case NAME: DR|LLING STUCTLJRES lNTERNATEONAL, lNC.
case NuMBER: 18-33395

 

STATEMENT OF INCOME

linn-18
-: 0.00 0.
AL cosT 01= REVENUES 494.01 494.01
PROF|T -494.01 . . . . . -494.01
11ch mu-F.Nsns=
Sell & 386.23
Genera] & Administralive 10 15.11 ` 10 915.11
Insiders 4 .47 4 990.4
Prof'cssional Fees 781.90 781.
Other 0.
Other 0.
ALoPsRA'nNG EXPENSES 17 073.71 17 073.71
BEFORE lN‘r, DEPMAX (MOR-t -17 67.72 ~17 7.
ExPENsE
'noN
ExPENSE'
xTEMs"
ALINT DEPR& o'mualrEMs
INCOME BEFQRE TAxEs
114ch TAxEs

-17

17 7. . . . 17 567.'7

Accnrat Accozuuir:g Required. Orher\visc Foornate with Exptanarian
* Fnornore Mandatary.
* ‘ Urzu.ruaf and/or infrequent irern(s) outside lite ordinary course of business requires jbatnote.

MOR-6

CaSe 18-33395 Document 20

cAsE NAME: DREE_L|NG STUCTURES lNTERNATEONAL, tNC.
cAsE N\JMB£R: 18-33395

. CASI-!-BEG[NNTNG OF MONTH

. CASH SALES
. COLLECTION UF ACCOUNTS RIECEIVABLE
. LOANS & ADVANCES (attnch list)
. SALE OF ASSETS
. OTHER (nltach
RECE,IP'|`S**
Contridu\inn Imiividual chtnr M'FR*Z*

. NET PAYROLL
. PAVROLL TAxEs mm
. sALEs, use & munn T,\xes mm
sECuREDmENTAuLEAsEs
. umlmzs st 'rELEPHoNE
. newmch
3. :NVF,NTQRY PURCHASES
vEHICLE ExPENsEs
. mvm. n ENTERTMNM:~:NT
. REPA:RS. WINTENANCE a suPPuEs
. ADMmls”mATWE a sELLrNG
. owen coN‘rRAcT LABOR
AL DISBURSEMENTS FRoM ormm'rzous
. PnoFEssloN/\L FEES
u.s. TRUSTE£ PEES
. oman REoRGANIzATIoN ExFENsEs mach tim
AL msounsEMEN'rs**
NET cAsH FLow
cAsH - END oF

interim |nterest

4,176.45
16 57.52

16 57.52
-16 57.52
13772.69 .00

to

MOR-’l

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**Numbers for the current month should balance (match)

RE`.CEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-B

mme To
DATB
330 30.21

0.
41’1'6.45
16 5'7.5
0.
0.
0.
0.00 1 57.52
0.00 ~1 57.5
.00 313772.

 

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cAsE NAME:
cAsE NUMBER: 18~33395

DRELL|NG STUCTURES lNTERNAT[ONAL, lNC.

CASH ACCOUN'I` RECONCILIATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH OF lim-18
WK NAME lNDEPENDL-".NT BANK WNWWU§MANK PETTY cAsH
ACCOUNT NUMBER 38164 1000675452 3003203794
ACCo UNT TYPE opEM TING PA YRoLL TAX orHER man To TAL
BANK BALANCE 10,202.81 4,630.81 1,143.29 1,000.00 $16,9'76.91
DEPOS!TS lN TRANSIT $0.00
ouTsTANDING CHECKS -156.22 3,370.44 -10.00 $3,204.22
ADJUSTED BANK BALANCE $10,359.03 $1,260.37 $1,153.29 $1,000.00 $13,7?2.69
BEGrNNING CASH - PER BOOKS 27,809.03 -1,165.30 1,442.04 1,000.00 $29,085.?7
RECE|PTS* 0.00 $0.00
TRANSFERS BETWEEN ACCOUNTS -17,450.00 18,694.44 $1,244.44
(Wl'rl-IDRAWAL) ok CONTRIBUTION BY
INDIVIDUAL DEBTOR MFR-z -288.75 ($288.75)
l[CHECKS/OTHER'DISBURSEMENTS* 16,268.77 $16,268.77
[[ENDlNG cASH - PBR BOOKS $10,359.03 $1,260.37 31,153.29 $1,000.00 $13,772.69

 

 

 

 

 

 

MOR»S

*Numbers should baiance (match) TOTAL RECEIPTS and
TOTAL DISBURSEMENTS lines on MOR-7

 

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case NAME: DR!LL!NG STUCTURES !NTERNAT|ONAL. |NC.
cAsE NuMBER: 18-33395

PAYMENTS TO INSIDERS AND PROFESSIONALS

Ofthe total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptoy Code) and the professionals.

 

 

 

 

 

 

 

 

 

 

 

 

 

Also for insiders identi the eof`corn ensation aid e. . sal commission bonus,etc.} §Attach additional gach as necessarv.
MONTH MONTH v MONTH MONTH MONTH
:NSmERs; NAMEJCOMP TYPE 6130/2018
1. PHILL[P RIVERA, SRJ PRESIDEN'I`/ SALARY 995 .00
2. PHILLIP RJVERA,IR!V. PRESIDENT/ SALARY 995.00
3. SHANNON YORK/ OFFICE MANAGERISALARY 1,334.62
4. NYCHOLAS JAQUETTE/ SALARY &REIMB. 4,044.55
ii 5. ELTON YORK/ SECUR_ITY/ SALARY 462_00
6.
l ToTAmNSIDBRs (MoR-l) $7,881.17 S0.00 $0.00 $0.00 $0.00

 

 

 

 

PROFESSIONALS

 

TAL PROFESSIONALS

MOR»9

